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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Larry Dunn CASE NUMBER

2:20-cv-00913-RSWL-MRW
Plaintiff(s)

 

Vv.

Pinches Anaya, II LLC, et al.
MEDIATION REPORT

Defendant(s).

 

 

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation session even
if the negotiations continue. If the case later settles with the assistance of the mediator, the mediator must file
a subsequent Report.

1. (_] A mediation was held on (date):

 

A mediation did not take place because the case settled before the session occurred.
2. The individual parties and their respective trial counsel, designated corporate representatives, and/or
representatives of the party's insurer:
[_] Appeared as required by L.R. 16-15.5(b).
(-] Did not appear as required by L.R. 16-15.5(b).
[_] Plaintiff or plaintiff's representative failed to appear.
[_] Defendant or defendant's representative failed to appear.
[_] Other:

B Did the case settle?
L] Yes, fully, on (date).
[] Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
[1 Yes, partially, and further facilitated discussions are not expected.
[_] No, and further facilitated discussions are expected. (See No. 4 below.)
L] No, and further facilitated discussions are not expected.

4. If further facilitated discussions are expected, by what date will you check in with the parties?

 

 
 

Dated: July 14, 2020

      

 

ediator

Signature of ff

 

The Mediator must electronically file original document in CM/ Conse ssharagaaEsd:
ECF using one of four choices under "Civil => Other Filings => Name of Mediator (print)
ADR/Mediation Documents => Mediation Report (ADR-3).”

 

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